      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 1 of 14




                     UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                 :       3:CR-19-09

           v.                            :     (JUDGE MANNION)

BRUCE EVANS, SR. and                     :
BRUCE EVANS, JR.,
                                         :
           Defendants

                             MEMORANDUM

     Presently before the court is the government’s October 25, 2021 Notice of

Expert Testimony regarding its intent to call 20 expert witnesses, broken down into

two types of expert witnesses at trial, (Doc. 114), and the November 8, 2021 Motion

in Limine of defendant Bruce Evans, Sr., (“defendant” or “Evans, Sr.”), (Doc. 121),

to preclude three of the government’s proposed experts, namely, Thomas Brown,

Jeremy Miller and Ed Gillette, from being qualified as experts pursuant to Federal

Rule of Evidence 702. The government indicates that it will seek to qualify these

three witnesses as wastewater treatment experts. Alternatively, if the court does

not prevent the stated three witnesses from being qualified as experts, Evans, Sr.

seeks the court to limit these alleged “hybrid” fact and expert witnesses under

Federal Rule of Evidence 704(b) from testifying as to ultimate legal

conclusions/mens rea of the crimes charged, and to take other precautions to limit

any prejudice from their testimony. Defendant simultaneously filed his brief in
        Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 2 of 14




support of his motion. (Doc. 122). On November 10, 2021, the government filed its

brief in opposition with attached Exhibits. (Doc. 129).

        Evans, Sr.’s motion in limine, (Doc. 121), will be GRANTED IN PART, and

DENIED IN PART.



   I.       FACTUAL AND PROCEDURAL HISTORY1

        On May 28, 2020, a Superseding Indictment was filed against defendants

Bruce Evans, Sr., and his son, Bruce Evans, Jr. (Doc. 62). The Superseding

Indictment contains 36 Counts, namely: (1) three counts under 33 U.S.C.

§1319(c)(2)(A) for failure to operate and maintain in violation of a Clean Water Act

permit; (2) two counts under 33 U.S.C. §1319(c)(2)(A) for discharge in violation of

a Clean Water Act permit; (3) one count under 33 U.S.C. §1319(c)(2)(A) for failure

to notify PA Department of Environmental Protection (“PADEP”) in violation of

CWA permit; (4) eight counts under 33 U.S.C. §1319(c)(2)(A) for bypassing the

treatment system in violation of a CWA permit; (5) nine counts under 33 U.S.C.

§1319(c)(2)(A) for failure to notify PADEP of bypasses and sewage overflows in

violation of a CWA permit; (6) eight counts under 18 U.S.C. §1343 for wire fraud;

(7) four counts under 18 U.S.C. §1702 obstruction of correspondence; and (8) one


      Since the court stated the factual background of this case in its August 19,
        1
2021 Memorandum denying defendants’ motions to dismiss, it is not fully repeated
herein. (Doc. 104).
                                        2
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 3 of 14




count of false statements in violation of the CWA under 33 U.S.C. §1319(c)(4).

Evans Sr. is charged in 35 of the Counts (i.e., all Counts except for Count 6), while

Evans Jr. is only charged in Counts 2-5 and 6. In Count 6, Evans Jr. is charged

with false statements in violation of the CWA.

      The trial in this case is scheduled to commence on November 15, 2021, as

against both defendants.



      II.   LEGAL STANDARD FOR MOTION IN LIMINE

      “The purpose of a motion in limine is to allow the trial court to rule in advance

of trial on the admissibility and relevance of certain forecasted evidence.” United

States v. Tartaglione, 228 F.Supp.3d 402, 406 (E.D. Pa. 2017). On a motion in

limine, evidence should only be excluded “when the evidence is clearly

inadmissible on all potential grounds.” Id. Evidentiary rulings on motions in limine

are subject to the trial judge’s discretion and are therefore reviewed for an abuse

of discretion. Abrams v. Lightolier, Inc., 50 F.3d 1204, 1213 (3d Cir. 1995);

Bernardsville Bd. of Educ. v. J.H., 42 F.3d 149, 161 (3d Cir. 1994). “The Court is

vested with broad inherent authority to manage its cases, which carries with it the

discretion and authority to rule on motions in limine prior to trial.” Ridolfi v. State

Farm Mutual Auto. Ins. Co., 2017 WL 3198006, *2 (M.D. Pa. July 27, 2017).




                                          3
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 4 of 14




Further, “[c]ourts may exercise this discretion in order to ensure that juries are not

exposed to unfairly prejudicial, confusing or irrelevant evidence.” Id.

       “A trial court considering a motion in limine may reserve judgment until trial

in order to place the motion in the appropriate factual context.” United States v.

Tartaglione, 228 F.Supp.3d 402, 406 (E.D. Pa. 2017). “Further, a trial court’s ruling

on a motion in limine is ‘subject to change when the case unfolds, particularly if

actual testimony differs from what was contained in the movant’s proffer.’” Id.

(quoting Luce v. United States, 469 U.S. 38, 41, 105 S.Ct. 460, 83 L.Ed.2d 443

(1984)).



      III.   DISCUSSION

      Evans, Sr.’s motion in limine is filed pursuant to Federal Rule of Evidence

702. “It is well established that a district judge has a ‘general ‘gatekeeping’

obligation’ with respect to all testimony based on specialized knowledge of some

form.” U.S. v. Williams, 974 F.3d 320, 358 (3d Cir. 2020) (citing Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 141, 119 S.Ct. 1167, 143 L.Ed.2d 238 (1999)). “Under

Federal Rule of Evidence 702, [the judge] must ensure that such testimony is both

reliable and relevant, including under the standard laid down in Rule 403.” Id.

(citing Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 594-95, 113 S.Ct.

2786, 125 L.Ed.2d 469 (1993)). “The judge must also ensure that ‘an expert

                                          4
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 5 of 14




witness [does] not state an opinion about whether [a] defendant did or did not have

a mental state or condition that constitutes an element of the crime charged or of

a defense.’” Id. (citing Fed. R. Evid. 704(b)).

      No doubt that the admissibility of expert testimony is governed by Rule 702

of the Federal Rules of Evidence, which provides that:

      A witness who is qualified as an expert by knowledge, skill, experience,
      training, or education may testify in the form of an opinion or otherwise if:

      (a) the expert’s scientific, technical, or other specialized knowledge will help
          the trier of fact to understand the evidence or to determine a fact in issue;

      (b) the testimony is based on sufficient facts or data;

      (c) the testimony is the product of reliable principles and methods; and

      (d) the expert has reliably applied the principles and methods to the facts of
      the case.

      “It is well-established that ‘Rule 702 embodies a trilogy of restrictions on

expert testimony: qualification, reliability, and fit.’” In re J&J Talcum Powder Litig.,

509 F.Supp.3d 116, 130 (D. N.J. 2020) (citations omitted). “The Daubert Court

ruled that trial courts must perform a gatekeeping function to ensure the relevance

and reliability of expert testimony. Id. (citation omitted). “In conducting this analysis,

courts are to consider ‘all aspects of the expert’s testing: the methodology, the

facts underlying the expert’s opinion, [and] the link between the facts and the

conclusion.” Id. at 131 (citations omitted). “Moreover, courts must ensure that

expert testimony reflects accepted standards within the relevant scientific and
                                            5
       Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 6 of 14




business communities.” Id. (citing In re Johnson & Johnson Derivative Litig., 900

F. Supp. 2d 467, 492 (D. N.J. 2012) (“[T]he Court’s role under Rule 702 is to ensure

that expert testimony reflects accepted standards within the relevant scientific and

business communities—it is not to serve as an umpire between competing subsets

of a given community.”)).

      “The first prong of admissibility considers whether an expert is qualified ‘to

render an opinion when he or she possesses specialized expertise.’” Id. at 131

(citations omitted). “This factor is applied liberally and ‘courts have been cautioned

not to exclude expert testimony merely because the court feels that the expert is

not the best qualified or that the expert does not possess the most appropriate

specialization.’” Id. (citation omitted).

      “The second prong of admissibility concerns the reliability of the expert’s

methodology”, and “[t]he Third Circuit has explained that ‘an expert’s testimony is

admissible so long as the process or technique the expert used in formulating the

opinion is reliable.’” Id. (internal citations omitted). Thus, an “expert’s opinion must

be based on the ‘methods and procedures of science’ rather than on ‘subjective

belief or unsupported speculation.’” Id. (citations omitted).

      “The third prong of admissibility, fit, concerns whether the expert’s testimony

will be helpful to the trier of fact”, and “[t]he Third Circuit has explained that

‘admissibility depends in part on the proffered connection between the scientific

                                            6
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 7 of 14




research or test result to be presented and particular disputed factual issues in the

case.’” Id. at 132 (internal citations omitted).

      As to its three wastewater treatment proffered expert witnesses, the

government states, (Doc. 114 at 2-3), in relevant part, as follows:2

                                      Brown

      Brown is a retired [PA]DEP employee who spent 41 years in the
      wastewater treatment profession. During his 31-year state career, he
      provided technical and regulatory compliance assistance to entities and
      individuals regulated by CWA NPDES permits and as a technical expert


      2 The court notes that since the government summarizes the background of
the three experts at issue in its Notice, (Doc. 114 at 2-3), and has submitted their
curricula vitae, (“CV’s”), (Doc. 129-1), the court will not fully repeat their
qualifications herein. (See also Doc. 129 at 3-4).
       Evans, Sr. points out, (Doc. 122 at 4 n. 1), that the government failed to
comply with Fed.R.Crim.P. 16(a)(1)(G) since it only provided defendants with its
expert disclosures on October 25, 2021, less than one month before trial. He also
contends that the government did not timely provide defendants with the CV’s of
its proposed expert witnesses with its Notice. In fact, the CV’s were not provided
until the government filed its instant brief, Doc. 129-1, on November 10, 2021, two
business days before trial. As such, Evans, Sr. notes that he is not able to fully
consider if the three experts at issue herein are qualified under FRE 702. “Federal
Rule of Criminal Procedure 16 requires the government to give the defendant a
‘written summary’ of any expert testimony, at the defendant’s request”, but “[t]he
required disclosure under Rule 16 is not an automatic obligation on the
government; it arises only upon request of a defendant.” U.S. v. Burton, 404
Fed.Appx. 617, 624, n.4 (3d Cir. 2010). Here, Evans, Sr. filed his Requests for
expert disclosure as well as Rule 404(b) evidence on October 2, 2019, (Docs. 32
& 33), which were over two years before the government complied with the
Requests.
       As such, the court admonishes the government for its untimely compliance
with the Rules and notes that the government’s last minute Notices filed on
October 18 and 25, 2021, including its Rule 404(b) Notice and Expert Testimony
Notice, have required the defendants to file motions in limine one week before the
trial which has put an undue burden on the court to decide these matters prior to
trial.
                                            7
Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 8 of 14




supporting PADEP investigations involving regulated facilities with chronic
violations or suspicious activity. Brown also spent 11 years as a wastewater
treatment plant operator for Somerset, PA starting in 1977. He retired in 2019
from the PADEP. Mr. Brown was a certified wastewater treatment operator[.]

Brown will testify about the SBRs used at GTSA, his visits to the plant
and discussions with the defendants, his observations concerning plant
operation and maintenance, and CWA NPDES permit violations at the GTSA
sewage treatment system.

                             Miller

Miller has worked for the PADEP for 21 years, including 10 years in PADEP’s
water quality protection program. Mr. Miller was the assigned CWA NPDES
compliance inspector for the GTSA plant during the time period covered in
the Superseding Indictment during which he had responsibility for hundreds
of facilities with NPDES permits. Miller conducted 534 inspections from
January 1, 2012, to December 31, 2018. During that time, he had inspector
responsibility for 201 NPDES permits, of which 102 involved wastewater.
Upon Mr. Brown’s retirement, Mr. Miller became the statewide Wastewater
Operations Advisor in 2020, …

Miller will testify about terms of the GTSA NPDES permit, the SBR treatment
system used by the GTSA, his inspections of the GTSA sewer system
between 2012 and 2018, including pump stations, sampling he conducted
on various dates at the plant, and CWA NPDES permit violations.

                             Gillette

The GTSA hired Mr. Gillette as its Engineer and Wastewater Treatment Plant
Operator in late 2017 and early 2018 to replace David Klepadlo in those
positions. He has worked in the wastewater treatment industry for 51 years[.]

He had been a registered Professional Engineer in Pennsylvania since 1973,
and is also a registered P.E. in 10 other states. Mr. Gillette has been a
certified wastewater treatment operator in PA since 1975 and in New Jersey
since 1981. He is a Diplomate of the American Academy of Environmental
Engineers. He has published numerous articles on wastewater process
control and plant operations, including safety and cost savings. Mr. Gillette

                                   8
       Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 9 of 14




       has taught courses on wastewater treatment plant operations for more than
       40 years through the Commonwealth of PA, ….

       Mr. Gillette will testify about the nature of his work in designing sewage
       treatment plants and troubleshooting problems at plants with issues, how he
       came to work at the GTSA, plant conditions at the GTSA when he was hired,
       his analysis of process wastewater controls and operation and maintenance
       of the plant, the plant’s inability to meet its NPDES permit requirements when
       he took over, the lack of maintenance and upkeep of equipment, how solids
       would be discharged from the plant’s outfall into the receiving stream due to
       lack of proper operation and maintenance, and offer his opinions about how
       the plant had been mismanaged.

       Evans, Sr. argues that the three wastewater treatment experts will testify

based on personal knowledge they gained as fact witnesses from their work

involving the GTSA facility, as PADEP personnel and as the GTSA plant operator,

and the processes used at GTSA. He states that these witnesses’ qualifications as

experts have no bearing on their factual testimony. He further contends that Brown,

Miller and Gillette will simply be offering opinion testimony as lay witnesses who

had firsthand knowledge of the operations at GTSA, and that they should be

precluded from testifying as expert witnesses and from offering any opinions as

experts since their proposed testimony does not meet the requirements of FRE

702.

       The court has reviewed the CV’s submitted, albeit untimely by the

government, of the three proffered experts and finds that it appears, for present

purposes, they are qualified as wastewater treatment experts. “To decide whether

an expert is qualified, courts must assess whether the expert has specialized
                                          9
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 10 of 14




knowledge in his testimony, which may be based in practical experience as well

as academic training and credentials.” Santanna v. Del. & Hudson Ry Co, Inc.,

2014 WL 631615, *2 (M.D. Pa. Feb. 18, 2014) (citing Elcock v. Kmart Corp., 233

F.3d 734, 741 (3d Cir. 2000)). “The specialized knowledge requirement has been

interpreted liberally in the substantive as well as the formal qualification of experts;

‘at a minimum, a proffered expert witness ... must possess skill or knowledge

greater than the average layman....’” Id. Additionally, the CV’s of the three

witnesses show that they appear to be qualified by training, education and practical

experience, and that they possess greater skill or knowledge than the average

layman regarding wastewater treatment. The proffered testimony of these three

witnesses also would aid the jury in understanding the CWA and its regulations as

well as the NPDES permit requirements. In any event, the court will ultimately

make this decision at trial when the witnesses are proffered as experts. 3

      As such, the determination by the court as to whether Brown, Miller, and

Gillette qualify as experts and whether the court should preclude them from

rendering any expert opinion or limit the scope of their testimony under FRE 702,

is premature and defendant’s motion in limine will be denied in this respect.




      At trial, after the government proffers the three witnesses as experts
      3
defendants will be able to cross examine them on their qualifications and
background before they are allowed to testify as experts.
                                       10
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 11 of 14




      Next, no doubt that “Federal Rule of Evidence 704(a) bars [an expert

witness] from providing an opinion as to the ultimate issue in the case”, and “[a]n

expert’s opinion on a question of law is not admissible.” Wood v. Showers, 2019

WL 5847836, *1 (M.D. Pa. Aug. 6, 2019) (internal quotations and citations omitted).

Nonetheless, “Rule 704(a) contemplates admissibility of an expert opinion on an

element of the offense, stating “an opinion is not objectionable just because it

embraces an ultimate issue,” however, “the Court has the responsibility to filter,

…, opinions which would merely tell the jury what result to reach.” Id. (citations

omitted). See also U.S. v. Watson, 260 F.3d 301, 308-09 (3d Cir. 2001) (“Under

Fed. R. Evid. 704(b), no expert witness ‘testifying with respect to the mental state

or condition of a defendant in a criminal case may state an opinion or inference as

to whether the defendant did or did not have the mental state or condition

constituting an element of the crime charged or of a defense thereto. Such ultimate

issues are matters for the trier of fact alone.”). Also, “[t]he prosecutor may not elicit

expert testimony on the ultimate issue of fact; that is for the jury alone to decide.”

Id. Moreover, “[e]xpert testimony is admissible if it merely ‘support[s] an inference

or conclusion that the defendant did or did not have the requisite mens rea, so long

as the expert does not draw the ultimate inference or conclusion for the jury and

the ultimate inference or conclusion does not necessarily follow from the

testimony.” Id. (citations omitted). However, “Rule 704(b) may be violated when

                                           11
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 12 of 14




the prosecutor’s question is plainly designed to elicit the expert’s testimony about

the mental state of the defendant, or when the expert triggers the application of

Rule 704(b) by directly referring to the defendant’s intent, mental state, or mens

rea.” Id. (internal citations omitted).

      Nor can expert witnesses testify about what the meaning of the law or

interpret the law for the jury. Indeed, the court will instruct the jury on what the

relevant law is in this case. In fact, the government indicates that “[it] does not plan

to ask any of the three witnesses ‘what the law means or how it is interpreted.’”

(Doc. 129 at 6).

      Additionally, the government represents that “[it] does not plan to ask any of

[the three witnesses] whether, in their opinion, the defendants committed a criminal

offense under the Clean Water Act …. Such offenses contain a ‘knowing’ [mens]

rea requirement and it would be inappropriate to ask such witnesses about another

person’s mens rea.” (Doc. 129 at 2). However, the government indicates that it

“does plan to ask Brown and Miller to identify the CWA permit at issue, specific

provisions in the permit that are relevant to the prosecution, and to state whether,

in certain instances, the [PA]DEP concluded that such acts had violated relevant

CWA provisions and notified Evans Sr. of that determination.” (Id. at 6-7). The

government states that it will not ask Gillette about whether various acts violated

the CWA permit provisions, but it will ask him about “his expert opinion

                                          12
      Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 13 of 14




concerning conditions at the GTSA plant when he took over as GTSA engineer

and certified plant operator in January 2018, after the GTSA Board fired the

defendants.” (Id. at 7).

      No doubt that the three proposed experts are hybrid fact/expert witnesses

and will be asked to testify about facts based on their own personal knowledge of

the GTSA operations due to their prior positions and what they personally

witnessed and observed firsthand at GTSA as well as to give expert opinions about

the plant operations based on their training and background which qualify as FRE

702 testimony. See Walker v. Mankey, 2019 WL 7495001 (W.D. Pa. Jan. 7, 2019);

see also Teen-Ed, Inc. v. Kimball Int'l, Inc., 620 F.2d 399, 404 (3d Cir. 1980) (“The

essential difference between opinion evidence which is not that of expert witness

and opinion evidence by qualified expert is that latter may answer hypothetical

questions and thus testify not only from the facts or data perceived by him but also

from what is made known to him at or before hearing.”).

      Here, to the extent that Evans, Sr. seeks to preclude the three witnesses

from testifying beyond the scope of the facts they learned from their personal

knowledge and that they gained firsthand, his motion will be denied. If the

witnesses are qualified at trial as experts in wastewater treatment, they may testify

in the form of an opinion based on their specialized knowledge and expertise

pursuant to FRE 702.

                                         13
           Case 3:19-cr-00009-MEM Document 138 Filed 11/12/21 Page 14 of 14




           However, the court will grant Evans, Sr.’s motion to the extent that it seeks

to preclude the government from asking Brown, Miller and Gillette any questions

about either of the defendant’s mens rea, since this is an issue for the jury to

decide. 4



           IV.   CONCLUSION

           For the aforementioned reasons, the defendant Evans Sr.’s motion in limine

to preclude three of the government’s proposed experts, namely, Thomas Brown,

Jeremy Miller and Ed Gillette, from being qualified as experts pursuant to Federal

Rule of Evidence 702, (Doc. 121), will be GRANTED IN PART and DENIED IN

PART, as specified above. An appropriate Order follows.




                                                    s/ Malachy E. Mannion
                                                    MALACHY E. MANNION
                                                    United States District Court

Dated: November 12, 2021
19-09-05



       The court concurs with the government’s proposed jury instruction involving
           4
“Dual Role Testimony,” found in the Ninth Circuit Manual of Model Criminal Jury
Instructions 4.15, and it will be given to the jury before their testimony if Brown,
Miller and Gillette are qualified as experts. (See Doc. 129-2). Such an instruction
will be given as a precaution to limit any prejudice to the defendants from their
testimony.

                                             14
